                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,
                                                                    Case No. 06-CR-264
               -vs-

MICHAEL CORNELIUS, et al.,

                              Defendants.


                                            ORDER


               The Court, pursuant to its Order of October 16, 2007, has received from the

government various statements made by witnesses to be called by the government at the trial

scheduled for October 23, 2007. The defendants seek discovery of these statements. After an en

camera review of the afore-mentioned statements, the Court finds that none of the statements of the

government’s witnesses contain information exculpating the defendants in the above-captioned case.

The defendants’ request for the discovery of said statements is hereby DENIED.

               Dated at Milwaukee, Wisconsin, this 23rd day of October, 2007.

                                                     SO ORDERED,


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge




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